     Case 2:24-cv-05577-DDP-E      Document 16      Filed 02/18/25   Page 1 of 1 Page ID #:45



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                           UNITED STATES DISTRICT COURT
 8                        CENTRAL DISTRICT OF CALIFORNIA
 9
      AUGUST IMAGE, LLC,                            Case No. 2:24-cv-05577-DDP-Ex
10

11    Plaintiff,                                    ORDER GRANTING JOINT
                                                    STIPULATION TO DISMISS
12    v.                                            ACTION
13
      DR. CHARLES J. SAROSY, et al.,
14

15    Defendants.

16

17           In consideration of the parties’ joint stipulation to dismiss the action, and for
18    good cause shown, the action is hereby dismissed with prejudice.
19           IT IS SO ORDERED.
20

21    Dated: February 18, 2025         By:
22
                                              HON. DEAN D. PREGERSON
                                              UNITED STATES DISTRICT JUDGE
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                                                 1
                                         [PROPOSED] ORDER
